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 1                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 2                                       SAN JOSE DIVISION

 3   FEDERAL TRADE COMMISSION,

 4                                  Plaintiff,                 Case No. 5:22-cv-04325-EJD

 5         vs.

 6   META PLATFORMS, INC., et al
                                                              JOINT STIPULATION AND [PROPOSED]
 7                                  Defendants.               ORDER RE: TEMPORARY
 8                                                            RESTRAINING ORDER
                                                              (CIVIL LOCAL RULE 7-12)
 9

10               In light of the enforcement action the Federal Trade Commission (“FTC”) filed on July

11      27, 2022, seeking to enjoin the proposed transaction of Meta Platforms, Inc. (“Meta”) and Within

12      Unlimited, Inc. (“Within”) (the “Proposed Transaction”), Meta, Within, and the FTC hereby

13      stipulate to a Temporary Restraining Order in federal district court stating that:

14         a. Meta and Within shall not close or consummate the Proposed Transaction until after

15               11:59 PM Eastern Time on December 31, 2022, or until the first (1st) business day after

16               the District Court rules on the FTC’s request for a preliminary injunction pursuant to

17               Section 13(b) of the Federal Trade Commission Act, whichever occurs earlier in time;

18               and

19         b. In connection with the paragraph immediately above, Meta and Within shall take any and

20               all reasonable and practicable steps to prevent any of their officers, directors, domestic or

21               foreign agents, divisions, subsidiaries, affiliates, partnerships, or joint ventures from

22               closing or consummating, directly or indirectly, the Proposed Transaction; and

23         c. In computing any period of time specified in this attachment, the day of the act, event, or

24               default that triggers the period shall be excluded. The term “business day” as used in this

25               attachment refers to any day that is not a Saturday, Sunday, or federal holiday.

26               The Parties jointly request the issuance of the stipulated Temporary Restraining Order,

27      noting that pursuant to 15 U.S.C. §53(b)(2), should the FTC fail to file an administrative

28      complaint in this matter within twenty (20) days after this stipulation is so ordered, this


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 1      stipulation and the corresponding Temporary Restraining Order shall expire automatically and be

 2      of no further force and effect.

 3              The Parties further request a scheduling conference before this Court during the week of

 4      August 8, 2022, or another convenient time for the Court as soon as possible, to discuss timing

 5      for the Preliminary Injunction hearing. Pursuant to this stipulation, the Parties jointly request

 6      that the Preliminary Injunction hearing and related decision issued by the Court occur before

 7      December 31, 2022 – the date upon which the Temporary Restraining Order stipulated to herein

 8      expires.

 9              In stipulating to a Temporary Restraining Order, Meta, Within, and the FTC do not waive

10      any objections, arguments, or protections, and otherwise expressly reserve all rights.

11      IT IS SO STIPULATED, through Counsel of Record.

12   Date: August 4, 2022

13   By: /s/ Abby L. Dennis                               By: /s/ Bambo Obaro
14   Abby L. Dennis                                       Bambo Obaro, CA Bar No. 267683
15   Peggy Bayer Femenella                                bambo.obaro@weil.com
     Joshua Goodman                                       WEIL, GOTSHAL & MANGES LLP
16   Jeanine Balbach                                      201 Redwood Shores Parkway, 6th Floor
     Michael Barnett                                      Redwood Shores, CA 94065-1134
17   E. Eric Elmore                                       Telephone: (650) 802-3000
     Justin Epner
18
     Sean D. Hughto                                       Chantale Fiebig, DC Bar No. 487671
19   Frances Anne Johnson                                 chantale.fiebig@weil.com
     Andrew Lowdon                                        WEIL, GOTSHAL & MANGES LLP
20   Kristian Rogers                                      2001 M Street NW, Suite 600
     Anthony R. Saunders                                  Washington, DC 20036
21   Timothy Singer                                       Telephone: (202) 682-7200
22
     Federal Trade Commission                             Eric S. Hochstadt, NY Bar No. 4222683
23   600 Pennsylvania Avenue, NW                          eric.hochstadt@weil.com
     Washington, DC 20580                                 WEIL, GOTSHAL & MANGES LLP
24   Tel: (202) 326-2381                                  767 Fifth Avenue
                                                          New York, NY 10153
25   Erika Wodinsky                                       Telephone: (212) 310-8538
     90 7th Street, Suite 14-300
26
     San Francisco, CA 94103                              Counsel for Defendant Meta Platforms, Inc.
27   Tel: (415) 848-5190

28   Attorneys for Plaintiff Federal Trade Commission
     JOINT STIPULATION AND [PROPOSED] ORDER RE: TEMPORARY RESTRAINING ORDER
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                                                         By: /s/ Christopher J. Cox
 1                                                       Christopher J. Cox, CA Bar No. 151650
 2                                                       chris.cox@hoganlovells.com
                                                         Hogan Lovells US LLP
 3                                                       4085 Campbell Avenue
                                                         Suite 100
 4                                                       Menlo Park, CA 94025
                                                         Telephone: (650) 463-4000
 5

 6                                                       Logan M. Breed, DC Bar No. 479628
                                                         Charles A. Loughlin, DC Bar No. 448219
 7                                                       Lauren Battaglia, DC Bar No. 1007093
                                                         logan.breed@hoganlovells.com
 8                                                       chuck.loughlin@hoganlovells.com
                                                         lauren.battaglia@hoganlovells.com
 9
                                                         (202) 637-6407
10                                                       (202) 637-5661
                                                         (202) 637-5761
11                                                       Hogan Lovells US LLP
                                                         555 13th St. NW
12                                                       Washington, DC 20004
13                                                       Counsel for Defendant Within Unlimited, Inc.
14
                                         FILER’S ATTESTATION
15

16          I, Abby Dennis, am the ECF User whose ID and password are being used to file the

17   foregoing document. In compliance with Civil Local Rule 5-1(h)(3), I attest that concurrence in this
18   filing has been obtained from the other signatories above.
19
                                                      By: /s/ Abby Dennis
20

21
                                           [PROPOSED] ORDER
22

23          PURSUANT TO STIPULATION, IT IS SO ORDERED
24

25

26   Dated: _______________, 2022                 ___________________________________
                                                  Honorable Edward J. Davila
27                                                United States District Judge
28                                                Northern District of California

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